                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION

                                        Case No. 5:22-cv-00050-M

 MADISON CAWTHORN,                                 )
                                                   )
             Plaintiff,                            )
                                                   )
 V.                                                )                          ORDER
                                                   )
DAMON CIRCOSTA, in his official capacity           )
as Chair of the North Carolina State Board of      )
Elections,                                         )
STELLA ANDERSON, in her official capacity          )
as a member of the North Carolina State Board      )
                                                   )
of Elections,
                                                   )
JEFF CARMON, in his official capacity as a
                                                   )
member of the North Carolina State Board of        )
Elections,                                         )
STACY EGGERSIV, in his official capacity as        )
a member of the North Carolina State Board of      )
Elections,                                         )
                                                   )
TOMMY TUCKER, in his official capacity as
                                                   )
a member of the North Carolina State Board of      )
Elections,                                         )
KAREN BRINSON BELL, in her official                )
capacity as the Executive Director of the North    )
Carolina State Board of Elections,                 )
                                                   )
                                                   )
             Defendants.

       This matter comes before the court on the Notice of Filings filed today by the Defendants [DE

70] . It appearing to the court that the North Carolina State Board of Elections intends to proceed against

Representative Cawthorn on March 7, 2022, the hearing on the pending Motion for Preliminary

Injunction will be accelerated and heard on Friday, March 4, 2022 at 10:30 a.m. in Courtroom 160,

Wilmington. In addition to the issues discussed at the February 22, 2022 status conference, the court




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will hear argument regarding any issues of standing, mootness, and/or ripeness, if necessary.

                                 )
       SO ORDERED this       2       day of March, 2022.




                                          rJvlJ [ dds_w1
                                             RICHARD E. MYERS II
                                                                         ;i:
                                             CHIEF UNITED STATES DISTRICT WDGE




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